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   15
                            UNITED STATES DISTRICT COURT
   16
                           CENTRAL DISTRICT OF CALIFORNIA
   17
   18
   19   U.S. EQUAL EMPLOYMENT                   Case No. 2:21-CV-07682 DSF-JEM
        OPPORTUNITY COMMISSION,
   20                                           DECLARATION OF JAHAN C.
                                   Plaintiff,   SAGAFI IN SUPPORT OF
   21                                           DEPARTMENT OF FAIR
              v.                                EMPLOYMENT AND HOUSING’S
   22                                           MOTION TO INTERVENE
        ACTIVISION BLIZZARD INC.,
   23   BLIZZARD ENTERTAINMENT, INC., Date:     November 29, 2021
        ACTIVISION PUBLISHING, INC.   Time:     1:30 p.m.
   24   KING.COM, INC., and DOES ONE  Location: Courtroom 7D
        through TEN, inclusive,       Judge: Hon. Dale S. Fischer
   25
                                Defendants.     Action Filed: September 27, 2021
   26
   27
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              DECLARATION OF JAHAN C. SAGAFI IN SUPPORT OF DFEH MOTION TO INTERVENE
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    1         I, Jahan C. Sagafi, declare as follows:

    2         1.     I am a partner at Outten & Golden LLP (“O&G”), the law firm

    3   representing the California Department of Fair Employment and Housing in their

    4   Motion to Intervene. I make these statements based on personal knowledge and

    5   would so testify if called as a witness.

    6         2.     This Declaration is submitted in support of California Department of

    7   Fair Employment and Housing’s Motion to Intervene.

    8         3.     I am a member in good standing of the bar of the State of California,

    9   as well as the U.S. District Court for the Central District of California.

   10         Factual and Procedural History

   11         4.     In July 2021, the DFEH filed suit in Los Angeles Superior Court

   12   alleging that Activision’s conduct violated California law’s protections against sex

   13   discrimination, sexual harassment, retaliation, destruction of record and forced

   14   waivers. Case No. 21STCV26571. Attached hereto as Exhibit A is a true and

   15   correct copy of the DFEH’s operative complaint, which is the First Amended

   16   Complaint.

   17         5.     On September 27, 2021, the EEOC filed this action and

   18   simultaneously lodged a proposed consent decree. Shortly thereafter, on October

   19   9, my co-counsel Christian Schreiber emailed the EEOC to ask them to withdraw

   20   information that was filed or lodged with the Court that included information

   21   considered by the DFEH to be privileged and confidential. I understand that Mr.

   22   Schreiber received no response, so the DFEH filed objections on Monday, October

   23   11, ECF No. 18.

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    1         6.      On Tuesday, October 12, the Court ordered the DFEH and the EEOC
    2   to meet and confer about the briefing schedule for a Motion to Intervene. ECF No.
    3   19. On Thursday, October 14, Mr. Schreiber participated in a video conference
    4   meet and confer with EEOC counsel, including Ms. Park and Ms. Markey. During
    5   that call, the EEOC and the DFEH agreed on a briefing and hearing schedule for
    6   the Motion to Intervene and agreed to continue discussions aimed at resolving the
    7   DFEH’s concerns with the Consent Decree.
    8         7.      The following day, October 15, 2021, Mr. Schreiber sent an email to
    9   the EEOC reiterating the DFEH’s concerns about the disclosure of privileged
   10   information and requesting a response to the DFEH’s request the prior day to
   11   withdraw such privileged information from the public docket. Having not heard
   12   back from the EEOC, the DFEH filed the Motion to Strike on October 19.
   13         8.      On Tuesday, October 19, Mr. Schreiber emailed the EEOC a detailed
   14   recitation of the DFEH’s concerns with the proposed decree.
   15         9.      On Thursday, October 21, Ms. Markey responded on behalf of the
   16   EEOC to Mr. Schreiber. Her letter stated in part that “EEOC will not be amended
   17   its negotiated proposed consent decree,” and offered to provide certain assurances
   18   about the scope of the settlement and its impact on the DFEH’s claims. That day,
   19   Mr. Schreiber responded to the EEOC letter and offered to speak to the EEOC
   20   about the statements in its letter.
   21         10.     On Friday, October 22, the EEOC and the DFEH participated in
   22   another teleconference. On the call, the parties continued discussions about the
   23   DFEH’s concerns and agreed to continue their dialogue over the weekend. The
   24   EEOC requested that the DFEH provide the EEOC with a draft copy of a proposed

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    1   Notice, the goal of which was to memorialize many of the assurances EEOC made
    2   in correspondence and conversations. The parties continued to exchange emails
    3   that day and on Saturday, October 23.
    4         11.    Yesterday, on Sunday, October 24, 2021, Mr. Schreiber sent the
    5   EEOC a proposed notice to be sent to the covered individuals if the Court approves
    6   the proposed consent decree, and he responded to the four items raised in the
    7   EEOC’s October 21 letter. The draft notice explains that only federal claims
    8   would be released through the consent decree, and that if claimants wished to
    9   resolve California claims, they should contact the DFEH to get the benefit of their
   10   expertise regarding the value, strengths, and weaknesses of those claims and
   11   provide an update as to the procedural posture of the ongoing DFEH action. A true
   12   and correct copy of that correspondence is attached to this Declaration as Exhibit
   13   B.
   14         12.    On the same day, I sent Anna Park, counsel for the EEOC, an email to
   15   reintroduce myself and reiterate the DFEH’s desire to address any disagreements
   16   through discussion rather than motion practice. A true and correct copy of that
   17   correspondence is attached to this Declaration as Exhibit C.
   18         13.    Today, I spoke with the EEOC, led by Anna Park, to find a way to
   19   avoid filing the intervention motion. We discussed the DFEH’s concerns with the
   20   proposed consent decree. Ms. Park clarified some aspects of the decree, which
   21   provided me with important information about the consent decree that I had not
   22   heard before. I asked Ms. Park if she would agree to postpone the deadline to file
   23   today’s intervention motion by two days to allow me to confer with the team and
   24   consider this new information. She responded that the EEOC will not change the

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    1   proposed consent decree and that if the DFEH still sought changes to the proposed
    2   consent decree, she preferred that we file the intervention today.
    3         14.       In today’s conversation, Ms. Park explained that the proposed consent
    4   decree will release sexual harassment, pregnancy, and retaliation claims under both
    5   federal and state (including FEHA) law. She explained that she understood the
    6   release to not release any pay or promotion claims.
    7         Consent Decree
    8         15.       The proposed consent decree contemplates that each Claimant will
    9   meet with a lawyer hired by Defendants for a maximum of one hour to understand
   10   their claims, their value, the benefits and risks of pursuing their claims individually
   11   or collectively, and the contours and consequences of the release being presented
   12   by Activision. The lawyer is entitled to a fee of up to $450 per hour. This hourly
   13   rate is what an associate bills at a firm like Paul Hastings or Outten & Golden.
   14         16.       Without revealing work product, and using only publicly available
   15   information, I can very conservatively estimate total potential exposure for the
   16   estimated 2,000 California employees (under the more favorable state law
   17   standards) and the estimated 500 non-California employees (under the less
   18   favorable federal law standards) whose claims are at issue in the proposed consent
   19   decree as follows:
   20                   a.     Assumption:
                       10% of women suffered retaliation, with each claim valued at two
   21                   years of compensation.
   22                  That 20% of women suffer harassment at $100,000 for 20% of women
                        and $250,000 for 20% of women.
   23                  Punitive damages are awarded in a 1:1 ratio to discrimination,
                        retaliation, harassment totals.
   24                  Two years of interest, without compounding.

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    1
            Relief Component                     California Value        Non-California
    2                                                                        Value
    3       Assumptions
            Employees                                    2,000                   500
    4       Average total compensation                 $140,000               $140,000
            Average annual pay disparity1              $16,000                $16,000
    5       Average tenure                              3 years                3 years
    6       Individual pay disparity                   $48,000                $48,000
            Subtotals and total exposure
    7       Pay discrimination                     $124,800,000           $31,200,000
            Retaliation                             $56,000,000           $14,000,000
    8
            Harassment                             $140,000,000           $35,000,000
    9       Punitive damages                       $320,800,000           $80,200,000
            California 10% annual interest         $128,320,000                $0
   10       Total exposure                         $769,920,000           $160,400,000
   11            17.   These damages are comparable with other California and non-
   12   California discrimination, harassment, and retaliation verdicts and
   13   settlements. See, e.g., Owen Diaz v. Tesla Inc., et al., No. 17 Civ. 06748 (N.D.
   14   Cal., filed Nov. 22, 2017) (ECF No. 291 (Verdict Form)) (On October 4, 2021, a
   15   unanimous jury awarded a single plaintiff $137,000,000 against Tesla for race
   16   discrimination and harassment claims); Chopourian v. Catholic Healthcare West,
   17   No. 09-cv-02972 (E.D. Cal. Feb. 29, 2012) (A jury awarded a single sexual
   18   harassment plaintiff $168,000,000 in economic damages, emotional distress
   19   damages, and punitive damages); In re Alphabet Inc. S’holder Deriv. Litig., No. 19
   20   Civ. 341522 (Cal. Super Ct., Cnty. of Santa Clara 2020) (Alphabet, Inc. entered a
   21   $310,000,000 settlement of a stockholder class case alleging that the company had
   22
        1
   23          See Exhibit G (Declaration of David Neumark in Support of Motion for
        Class Certification in Ellis v. Google, LLC, No. CGC-17-561299 (Cal.Super. filed
   24   9/14/2017)) at 7 (finding female employees of Google earned, on average, $16,794
        less per year compared to similar male employees).
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    1   improperly awarded multi-million-dollar severance packages to executives accused
    2   of sexual harassment); Kraszewski v. State Farm Gen. Insurance Co., 912 F.2d
    3   1182 (9th Cir. 1990) (settlement of over $220 million in a gender discrimination in
    4   hiring case, providing for backpay only); Stender v. Lucky Stores, 803 F.Supp. 259
    5   (N.D. Cal. 1992) (settlement of over $80 million in case addressing gender
    6   discrimination in initial assignment, allocation of hours, movement to full time and
    7   promotion); Haynes v. Shoney’s, Inc., No. 89 Civ. 30093, 1993 WL 19915 (N.D.
    8   Fla. Jan. 25 1993) (settlement of $132.5 million in race discrimination in hiring,
    9   firing, promotion, and harassment case); Velez, et. al. v. Novartis Pharmaceuticals
   10   Corp., No. 04 Civ. 09194 (S.D.N.Y. 2010) ($253 million verdict for gender
   11   discrimination in pay, promotion, and pregnancy-related matters, including
   12   punitive damages); McReynolds, et al. v. Merrill Lynch, Pierce, Fenner and Smith,
   13   Inc., No. 05 Civ. 6583 (N. D. Ill. Nov. 18, 2005) (ECF No. 585-1 (Settlement
   14   Agreement) at 27; ECF No. 616 (Final Approval Order)) (settlement of $160
   15   million for discrimination against African American financial advisors and trainees
   16   in hiring, training, compensation, promotion, and account distribution policies and
   17   practices); Abdallah v. Coca-Cola Co., 133 F. Supp. 2d 1364, 1371 (N.D. Ga.
   18   2001) (settlement of $192.5 million for about 5600 employees, addressing
   19   discrimination in promotions, compensation, and performance evaluations against
   20   salaried African American employees; settlement also required establishment of an
   21   independent Task Force to oversee compliance with the four-year agreement and
   22   salary adjustments); and Roberts v. Texaco, No. 94 Civ. 2015, 979 F.Supp. 185,
   23   193 (S.D.N.Y. 1997) (settling for $172 million, including $115 million for 1500
   24   current and former employees and $20 million in salary increases in a systemic

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    1   race discrimination case; settlement included creation of an Equality and Fairness
    2   Task Force which was given broad powers over anti-discrimination, affirmative
    3   action and diversity efforts for five years).
    4         Exhibits
    5         18.    Attached to this Declaration as Exhibit D is a true and correct copy of
    6   the EEOC’s Settlement Standards and Procedures.
    7         19.    Attached to this Declaration as Exhibit E is a true and correct copy of
    8   the EEOC’s Notice and Claims Procedures in the Settlement of Class Cases.
    9         20.    Attached to this Declaration as Exhibit F is a true and correct copy of
   10   the Google OFCCP settlement agreement.
   11         21.    Attached to this Declaration as Exhibit G is a true and correct copy of
   12   the Declaration of David Neumark in Support of Motion for Class Certification in
   13   Ellis v. Google, LLC, No. CGC-17-561299 (Cal. Super. Sept. 14, 2017).
   14
   15 Dated: October 25, 2021                   OUTTEN & GOLDEN
   16
                                          By:
   17                                           Jahan C. Sagafi
   18                                           Attorneys for Proposed Intervenor,
                                                Department of Fair Employment and Housing
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